          Case 8:21-mj-00757-DUTY Document 1 Filed 11/09/21 Page 1 of 10 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)          ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                              UNITED STATES DISTRICT COURT                                             
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     11/09/2021                                          for the                                       11/09/21
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           DVE                              Central District of California                                               




 United States of America

                 Plaintiff,

                 v.                                                Case No.   8:21-mj-00757-DUTY
 Cody Brandt,

                 Defendant.

                           CRIMINAL COMPLAINT BY TELEPHONE
                          OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of July 18, 2021 in the county of Orange in the Central District of California, the

defendant(s) violated:

           Code Section                                            Offense Description

           21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)                 Possession with Intent to Distribute
                                                                   Methamphetamine

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                             V)DUVKLG+DVKHPSRXU
                                                                                 Complainant’s signature
                                                                     Farshid Hashempour, Task Force Officer-FBI
                                                                                   Printed name and title
 Attested to by the applicant in accordance with the requirements
                                                               ts of Fed. R. Crim.
                                                                             Crrim. P. 44.1
                                                                                         . by telephone.
                                                                                         .1   telephone

 Date:             November 9, 2021
                                                                                      JJudge’s
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 City and state: Santa Ana, California                                Hon. John D. Early, U.S. Magistrate Judge
                                                                                  Printed name and title
Case 8:21-mj-00757-DUTY Document 1 Filed 11/09/21 Page 2 of 10 Page ID #:2



                           A F F I D A V I T
     I, Farshid Hashempour, being duly sworn, hereby declare and

state as follows:

                           I. INTRODUCTION

     1.     I am a Detective with the Santa Ana Police Department

(“SAPD”) and also a federally deputized Task Force Officer

(“TFO”) presently working with the Federal Bureau of

Investigation (“FBI”).     As a TFO with the FBI, I am an

investigative or law enforcement officer of the United States

within the meaning of 18 U.S.C. § 2510(7), and I am empowered by

law to conduct investigations and make arrests for offenses

enumerated in 18 U.S.C. § 2516.

     2.     I am assigned to the Orange County Violent Gang Task

Force (“OCVGTF”).    The OCVGTF is composed of federal and local

law enforcement agencies, including, but not limited to, the

FBI, the SAPD, and detectives from the Anaheim Police

Department.   The OCVGTF is responsible for, among other things,

investigating violations of federal law committed by criminal

street gangs, the Mexican Mafia, and other violent criminal

organizations in Orange County.      Prior to this assignment with

the FBI, I was a SAPD Police Officer and have been so employed

for approximately twenty years.

     3.     I have specialized training and experience in

investigations of narcotics trafficking and criminal street

gangs.    During my tenure as a Police Officer, as well as an FBI

TFO, I have conducted and participated in numerous

investigations of criminal activity, specifically including



                                    1
Case 8:21-mj-00757-DUTY Document 1 Filed 11/09/21 Page 3 of 10 Page ID #:3



narcotics trafficking and violent offenses committed by street

gangs.    Since joining the OCVGTF in 2010, I have specialized in

investigations of the Mexican Mafia and its subordinate gangs in

Orange County.   As part of these investigations, I have also

learned about the drug trafficking organizations that supply

street gangs with illegal narcotics.

                       II. PURPOSE OF AFFIDAVIT

     4.     This affidavit is made in support of a criminal

complaint and arrest warrant against “CODY BRANDT” (“BRANDT”)

for a violation of Title 21, United States Code, Section

841(a)(1), (b)(1)(A)(viii) (Possession with Intent to Distribute

Methamphetamine).

     5.     The facts set forth in this affidavit are based upon

information obtained from other law enforcement personnel, my

personal knowledge, and my training and experience.         This

affidavit is intended to show merely that there is sufficient

probable cause for the requested complaint and warrant, and does

not purport to set forth all of my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                    III. SUMMARY OF PROBABLE CAUSE

     6.     On July 18, 2021, a Police Officer from the Buena Park

Police Department (“BPPD”) was working uniformed patrol in a

marked unit, when he observed a silver Toyota Camry with faulty

brake and vehicle license plate lights, both in violation of the

California Vehicle Code.     The Officer initiated a traffic stop


                                    2
Case 8:21-mj-00757-DUTY Document 1 Filed 11/09/21 Page 4 of 10 Page ID #:4



as the vehicle pulled into the parking lot of a hotel.          At the

time of the stop, BPPD Dispatch advised the Officer that the

vehicle’s registered owner, who was later determined to be the

female driver of the car, had an active arrest warrant.

     7.     The officer contacted the three occupants of the

vehicle to include the rear passenger, who initially identified

himself as Anthony Gallegos, but was later identified as CODY

BRANDT.    The officer had the driver exit the vehicle and sat her

on the ground without handcuffs in front of his patrol vehicle.

The officer identified the driver as Maria Chavez.         The officer

removed the front passenger, who consented to a pat down search

of his person for contraband.      The front passenger was also

seated on the ground without handcuffs after the pat down

search.    The officer obtained consent from BRANDT to conduct a

search of his person.    Prior to the search, BRANDT advised the

officer that he had drugs in the right lower pocket of his

pants.    A search of the BRANDT’s pocket revealed marijuana

residue.

     8.     BPPD Dispatch advised the officer that Chavez had an

active arrest warrant out of Orange County and he placed Chavez

under arrest.   Due to the position that the silver Toyota Camry

had been parked at the time of the traffic stop, in which it was

blocking other parked cars, as well as Chavez’s arrest and the

other passengers’ inability to produce valid driver’s licenses,

the officer decided to have the vehicle stored incident to

arrest.    During a subsequent vehicle inventory, the officer

found drug paraphernalia after which he conducted a search for


                                    3
Case 8:21-mj-00757-DUTY Document 1 Filed 11/09/21 Page 5 of 10 Page ID #:5



narcotics.    The officer located a blue plastic Ziploc bag on the

floorboard behind the right front passenger seat.         The plastic

bag was found in the area where BRANDT was seated at the time of

the traffic stop.    Inside the Ziploc bag, the Officer found a

substance resembling methamphetamine.       The Officer then moved a

duffel bag and backpack that were found on the seat directly

next to where BRANDT had been seated and found a Para Ordinance

Warthog handgun loaded with seven rounds of .45 caliber

ammunition.    A clear plastic bag containing a black substance

believed to be heroin was also found near where BRANDT was

seated.    This substance was later determined to be fentanyl.

During a search of the backpack, the Officer located two large

plastic bags containing a substance he believed to be

methamphetamine.    During a search of the duffel bag, thirty-two

rounds of Winchester .45 caliber ammunition were found along

with one round of 9mm ammunition.

     9.      BRANDT was placed under arrest and transported to the

BPPD Jail, where he was advised of his Miranda Rights.          BRANDT

acknowledged his rights and admitted that the methamphetamine

and fentanyl located in the vehicle belonged to him.          BRANDT

also admitted to possession of the firearm, which he said he

carries for protection because of his involvement in the sales

of narcotics.

                    IV. STATEMENT OF PROBABLE CAUSE

     10.     I have reviewed the police report prepared by BPPD

Patrol Officer E. Rubalcava, who was involved in the

investigation regarding the July 18, 2021, arrest of BRANDT.


                                    4
Case 8:21-mj-00757-DUTY Document 1 Filed 11/09/21 Page 6 of 10 Page ID #:6



Based on my review of the report, I have learned the following

facts:

          a.      On July 18, 2021, at approximately 3:50 a.m.,

BPPD Officer E. Rubalcava was working uniformed patrol in a

marked vehicle when he observed a silver Toyota Camry, bearing

California License Plate 8PUY994, travelling eastbound on

Crescent Avenue from Beach Boulevard, in the city of Buena Park,

California.    Officer Rubalcava noticed that one of the Toyota

Camry’s rear brake lights and the vehicle’s license plate lights

were inoperable, in violation of California Vehicle Code

sections 24252(a) and 24601, respectively.

          b.      Officer Rubalcava initiated a traffic stop on the

Toyota Camry as the vehicle entered the parking lot of the Best

Host Inn, located at 8530 Beach Boulevard, Buena Park,

California.    After stopping, the female driver exited the

vehicle, but was instructed by Officer Rubalcava to get back

inside the car.    During this time, BPPD Dispatch informed

Officer Rubalcava that the vehicle’s registered owner, who was

determined to be the driver, had an active arrest warrant.

Officer Rubalcava was assisted by BPPD Officer G. Bernal as they

made contact with the three occupants of the Toyota Camry.

          c.      Officer Rubalcava contacted the driver, who he

identified as Maria Chavez, and the right front passenger, who

identified himself as Brandon Yffert.       The rear passenger lied

by initially identifying himself to the Officers as Anthony

Gallegos, but was later positively identified as BRANDT.          Chavez

was asked to exit the vehicle and was seated on the ground


                                    5
Case 8:21-mj-00757-DUTY Document 1 Filed 11/09/21 Page 7 of 10 Page ID #:7



unhandcuffed, in front of Officer Rubalcava’s patrol vehicle.

Yffert was then asked to exit the vehicle and consented to

allowing Officer Rubalcava to remove the contents from his

pockets.   Yffert was also seated on the ground unhandcuffed, in

front of Officer Rubalcava’s patrol vehicle.

           d.   BRANDT also consented to the search of his person

as he was asked to exit the vehicle.       BRANDT informed Officer

Rubalcava that he had drugs in the right lower pocket of his

pants.   Officer Rubalcava removed a “grinder” from BRANDT’s

pants that contained marijuana residue inside.         A “grinder” is a

tool or device that is commonly used to break up the buds of

marijuana to facilitate it being placed into rolling paper for

smoking.   After conducting the search, BRANDT was also seated on

the ground unhandcuffed.

           e.   During the investigation, BPPD Dispatch informed

Officer Rubalcava that Chavez had an active warrant in Orange

County for being an unlicensed driver.       At the time of the

traffic stop, the position of Chavez’s vehicle was blocking two

other legally parked vehicles.      As a result, Officer Rubalcava

decided to have her vehicle towed incident to her arrest

pursuant to the warrant.     In accordance with BPPD policy,

Officer Rubalcava then conducted a vehicle inventory of the

Toyota Camry.   Officer Rubalcava found drug paraphernalia in the

front seat console and then conducted a search for narcotics.

           f.   Officer Rubalcava found a blue clear Ziploc bag

on the rear floorboard, directly beneath where BRANDT was seated

at the time of the stop.     Officer Rubalcava noticed that the bag


                                    6
Case 8:21-mj-00757-DUTY Document 1 Filed 11/09/21 Page 8 of 10 Page ID #:8



contained a white crystalline substance resembling

methamphetamine.    On the seat directly next to where BRANDT had

been seated, Officer Rubalcava found a Jansport backpack and

gray duffel bag.    Officer Rubalcava moved the backpack and

duffel bag and found a silver colored Para Ordinance Warthog,

.45 caliber handgun, bearing serial number K069299.         The weapon

was loaded with six .45 caliber rounds of Winchester ammunition

in the magazine and one round in the chamber of the firearm.

Due to his proximity to the area where the narcotics and firearm

were located, Officer Rubalcava handcuffed BRANDT to prevent him

from fleeing the location.

          g.    Officer Rubalcava then continued to search the

area where BRANDT had been seated and found another plastic bag

containing a black substance he believed resembled heroin.

Officer Rubalcava also found another clear plastic bag

containing a substance believed to be methamphetamine.          During a

search of the Jansport backpack, Officer Rubalcava found two

large Ziploc bags containing large quantities of a white

crystalline substance believed to be methamphetamine.          Officer

Rubalcava also searched the gray duffel bag and located an

additional thirty-two rounds of Winchester .45 caliber

ammunition and one round of 9mm Luger ammunition.

          h.    After the discovery of the aforementioned items,

Officer Rubalcava overheard BRANDT state that he should have ran

because he was going to go to jail for a long time.         A records

check was conducted of BRANDT after he provided BPPD Officers

with his real name, which revealed an outstanding state warrant


                                    7
Case 8:21-mj-00757-DUTY Document 1 Filed 11/09/21 Page 9 of 10 Page ID #:9



as well as a federal warrant for a weapons charge that was

obtained by the Bureau of Alcohol, Tobacco and Firearms (“ATF”).

            i.   BRANDT was transported to the Buena Park Police

Department Jail, where he was read his Miranda Rights.           BRANDT

acknowledged his rights and admitted to Officer Rubalcava that

the methamphetamine and substance believed to be heroin belonged

to him.    BRANDT stated that the Para Ordinance handgun was

originally in his waistband until he was alerted by Chavez that

the police vehicle was behind them.       BRANDT then removed the

firearm and placed it between the backpack and duffel bag.

BRANDT said that he had the firearm for his protection because

of his involvement in the sales of narcotics.

            j.   The separate packages of the substance believed

to be methamphetamine that were found during the course of this

investigation weighed approximately 338 grams.         The Ziploc bag

containing the black substance believed to be heroin was found

to weigh approximately 64 grams.

     11.    I obtained the narcotics seized during this

investigation from the Buena Park Police Department and I sent

the narcotics to the DEA Southwest Lab for quantitative and

qualitative analysis.    I received chemical analysis reports for

the packages of white crystalline substance from the DEA

Southwest Lab, which stated that they had been determined to be

methamphetamine with a substance purity of 97% and 94%,

respectively.    The lab concluded that the amount of pure

methamphetamine was approximately 271.9 grams.         The DEA




                                    8
Case 8:21-mj-00757-DUTY Document 1 Filed 11/09/21 Page 10 of 10 Page ID #:10



Southwest Lab analysis of the black substance determined that it

was Fentanyl with a net weight of 59 grams.

      12.   Based on my training and experience, which includes

observing methamphetamine, I submit that there is probable cause

to believe that the narcotics taken during the search of BRANDT

and his property are in fact methamphetamine and Fentanyl.

Additionally, based on my training and experience, I believe

that the amounts of 271 grams of methamphetamine and 59 grams of

Fentanyl are more than would be possessed for personal
consumption and that possession of that amount of each drug

shows that they were possessed for the purpose of distribution.

                              V. CONCLUSION
      13.   For all the reasons described above, there is probable

cause to believe that BRANDT has committed a violation of Title

21, United States Code, Section 841(a)(1), (b)(1)(A)(viii)

(Possession with Intent to Distribute Methamphetamine).




                                          V)DUVKLG+DVKHPSRXU
                                         FARSHID HASHEMPOUR
                                         Task Force Officer, FBI


Attested to by the applicant
in accordance with the
requirements of Fed. R.
Crim. P. 4.1 by telephone on
this 9th day of November
2021.


HONORABLE
H
HO
 ONO
  N RABLE JOHN D.
               D. EARLY
                  EA
UNITED STATES MAGISTRATE
              MAGIST     JUDGE




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